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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

THOMAS HAYES,
Plaintiff,

CIVIL ACTION
NO. 21-11237-WGY

Vv.

INTERNATIONAL BUSINESS MACHINES,
CORP.,

Defendant.

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YOUNG, D.J. November 9, 2021
ORDER

This matter is before the Court on International Business
Machines Corporation’s motion to dismiss. Def.’s Mot. Dismiss
Pl.’s Compl., ECF No. 5. After counsel for Thomas Hayes
(“Hayes”) did not appear with notice to the clerk, the Court
took the matter under advisement to be decided on the papers
without oral arguments. Electronic Clerk’s Notes, ECF No. 11.

The motion to dismiss is ALLOWED in part and DENIED in part
as follows. The motion is allowed as to counts II, III, and IV.
Regarding count II, the applicable statute of limitations has
run. As to count III, Hayes has failed to exhaust his
administrative remedies within the statutorily mandated time-
period. Hayes fails to state a claim for which relief can be

granted as to count IV.

[1]
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The motion is denied as to count I only insofar as Hayes
brings a promissory estoppel claim, but not otherwise as to a

breach of contract claim.

SO ORDERED.

 
    

WILLIAM G. YYUNG
DISTRICT JUDGE

[2]
